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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       CASE NO.: 8:24-CR-211-TDC
                                                    )
HOAU-YAN WANG,                                      )
                                                    )
        Defendant.                                  )

                   MOTION AND MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANT DR. HOAU-YAN WANG’S REQUEST
                       FOR ISSUANCE OF A RULE 17(C) SUBPOENA

        Pursuant to Rule 17(c) of the Federal Rules of Criminal Procedure, Defendant Dr. Hoau-

Yan Wang (“Dr. Wang”) submits this Motion and Memorandum of Law in Support of his Request

for the Issuance of a Rule 17(c) Subpoena to University 1, which is his employer.1 For the reasons

set forth below, Dr. Wang respectfully asks the Court to issue an order directing service of the

subpoena duces tecum returnable to undersigned counsel within thirty (30) days of the subpoena’s

issuance.

                                                FACTS

        Dr. Wang, a tenured medical professor at University 1’s School of Medicine, worked with

Company 1, a publicly traded biopharmaceutical company, on its development of Drug A, a

potential treatment for Alzheimer’s Disease. (Doc. 1 ¶¶ 1, 2). Drug A progressed through Phase

1 and 2 trials and is currently in its Phase 3 trial under the oversight of the U.S. Food and Drug

Administration (FDA), with research supported by funding from the National Institutes of Health




1
  Third-parties to these proceedings are referenced by the same pseudonyms used for them in the
underlying Indictment. University 1 is identified by name in the proposed subpoena filed under
seal with this motion as Exhibit A.

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(NIH). (Id. ¶¶ 4-8, 11). Dr. Wang conducted testing for Phases 2(a) and 2(b) in his University 1

laboratory. Neither he nor University 1 are involved in Phase 3. (Id. ¶ 11).

       As part of his responsibilities, Dr. Wang managed biomarker testing of Drug A through

two primary techniques: (1) Western blotting, and (2) ELISA (Enzyme-Linked Immunosorbent

Assay), both of which are used to quantify biomarker levels. (Id. ¶ 9). Western blotting separates

biomarkers by size, transfers them to a membrane, and then detects them using antibodies. (Id.).

The resulting biomarker bands are visualized, in part, by exposing X-ray films and using a scanner

to create digital images of those X-ray films. (Id.). These scanned films are essential for

generating densitometry readings, which quantify the intensity of the biomarker bands. (Id.). The

densitometry data, combined with any processed images from the X-ray films, are used to create

a final publication image that visually illustrates the biomarker quantification results. (Id.). ELISA

quantifies biomarker concentrations in liquid samples by measuring the color changes caused by

particular reactions, producing data on biomarker levels. The resulting data is automatically

compiled by the ELISA plate reader into spreadsheets, which include this quantification and

associated metadata.

       In the Indictment dated June 27, 2024, the United States broadly accuses Dr. Wang of

making false statements in connection with NIH-funding applications related to the research on

Drug A. (See, e.g., Doc. 1 ¶¶ 14-27). Though it deals with five separate grant applications whose

total pages number well into the thousands, the Indictment identifies only one “example” figure

for which it alleges Dr. Wang “fabricated the Western blot . . . and the corresponding densitometry

data,” and otherwise refers generally to “fabricated Western blots” without specifying the figures

allegedly involved. (Id. ¶ 18). Among its generalized allegations, the United States accuses Dr.

Wang of “manipulating data and images . . . and then drawing conclusions . . . that were not based



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upon truthful scientific testing,” but other than the single image identified in Paragraph 18, the

Indictment makes no specific allegations of which images and/or data were supposedly

manipulated. (Id. ¶¶ 14(c), 18). The Indictment also makes reference to certain submissions by

Dr. Wang to academic journals “about his scientific research” and a supposed failure to keep and

provide “relevant data he possessed to the government” allegedly in order to conceal his purported

scheme. (Id. ¶¶ 14(a), (d), (e), 15, 17). But, again, the Indictment fails to specify what academic

journal work was supposedly manipulated and what “relevant data” was supposedly withheld. (Id.

¶ 14(f)).

        Through the requested subpoena, Dr. Wang seeks access to specifically identified

instrumentation on which the “scientific research” at issue was performed and the source data

repositories for same. (Id. ¶¶ 1, 3, 10, 13, 14(a), (c), (d), (e), 15, 17, 19, 27). Given the broad

allegations outlined in the Indictment, it is essential to obtain for Dr. Wang’s defense, not only the

files related to the specific Western blot, densitometry and ELISA plate reader data for the single

figure specifically referenced in the Indictment, but also all Western blot, densitometry and ELISA

plate reader files stored in or on the storage devices described in Appendix A attached hereto that

include all of Dr. Wang’s work with Company 1 to date. (Doc. 1). This includes all Western blot

records, densitometry and ELISA plate reader audit trials and spreadsheets, along with their

metadata, such that Dr. Wang can potentially demonstrate and validate the nature, timing and

degree of his use and access of the subject hardware and software, along with the data recordation

and storage for same, all of which is crucial to his defense. The requested instrumentation and

information access is expected to provide evidence of the “scientific testing” and data and imaging

development at the heart of the United States’ claims, illustrate the manner in which Dr. Wang’s

research conclusions were drawn, and further address issues the Indictment raises with respect to



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the existence and production of relevant data to the government. (Id. ¶¶ 14(c), 20, 24, 25). It is

vital to secure all relevant materials related to Dr. Wang’s work with Company 1, including

academic journal articles, to effectively address the United States’ claims and ensure a thorough

defense.

       Dr. Wang has been unsuccessful in procuring the requested records directly from

University 1 through his own diligence. (Ex. B, p. 1). On July 2, 2024, Dr. Wang and his legal

counsel, accompanied by a group of forensic experts retained by Dr. Wang to collect and analyze

the desired materials (his “legal team”), traveled to the University 1 campus to collect and image

certain hardware contained in Dr. Wang’s laboratory and office for the purpose of conducting

evidence preservation and record collection crucial for his defense. (Ex. C; Ex. B, p. 2). After

initially indicating it would permit such efforts, University 1’s General Counsel’s Office informed

Dr. Wang’s legal team that University 1 would only allow Dr. Wang’s legal team to obtain the

electronic files and records in question if this Court issued the requested subpoena duces tecum.

(Ex. D; Ex. B, p. 1). As a result, Dr. Wang is moving this Court for issuance of this subpoena as

his only option to obtain this critical evidence.

                                           ARGUMENT

       Rule 17(c) of the Federal Rules of Criminal Procedure provides for the issuance of subpoenas

requiring the production of books, papers, documents, data or other objects. See Fed. R. Crim. P.

17(c). Subpoenas issued under Rule 17(c) promote fairness and efficiency in criminal proceedings.

See United States v. Caro, 597 F.3d 608, 619-20 (4th Cir. 2010) (finding that Rule 17(c) “implements

the Sixth Amendment guarantee that an accused have compulsory process to secure evidence in his

favor”) (quoting In re Martin Marietta Corp., 856 F.2d 619, 621 (4th Cir. 1988)); Bowman Dairy

Co. v. United States, 341 U.S. 214, 220 (1951) (ordering the pretrial production of documents under

Rule 17(c), to “expedite the trial by providing a time and place before trial for the inspection of
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the subpoenaed materials”) (emphasis added); see also United States v. Nixon, 418 U.S. 683, 699

n.11 (1974) (noting that the Federal Judicial Center recommends that use of Rule 17(c) be

encouraged in complex criminal cases so that each party may be able to produce documentary

evidence well in advance of trial) (citing Federal Judicial Center, Manual for Complex and

Multidistrict Litigation at 150 (1st ed. 1968)).

       In United States v. Nixon, the Supreme Court found that a Rule 17(c) pretrial subpoena is

appropriate and reasonable if the requesting party demonstrates that (1) the materials requested

“are evidentiary and relevant;” (2) the materials “are not otherwise procurable reasonably in

advance of trial by exercise of due diligence;” (3) the requesting party “cannot properly prepare

for trial without such production and inspection in advance of trial and that the failure to obtain

such inspection may tend unreasonably to delay the trial;” and (4) “the application is made in good

faith and is not a general ‘fishing expedition.’” Nixon, 418 U.S. at 698-700 (footnote omitted); see

also Caro, 597 F.3d at 620 (summarizing the Nixon requirements as “(1) relevancy; (2)

admissibility; [and] (3) specificity”). All of the Nixon requirements are satisfied here.

       The requested subpoena seeks forensic images of certain storage devices Dr. Wang used

to store files, data and documents related to experiments he performed for Company 1 at his

University 1 lab. These items are material to Dr. Wang’s defense, relevant to the allegations in

the Indictment, and expected to include admissible evidence that is directly exculpatory, including

but not limited to audit trails verifying that Dr. Wang’s work was conducted without manipulation.

The records also are required sufficiently in advance of trial in order for Dr. Wang to undertake

the requisite analysis of the information in order to be able to prepare his defense.

       In its Indictment, the United States alleges that Dr. Wang falsified the results of certain

research conducted in his University 1 laboratory in connection with the development of the



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Alzheimer’s Disease Drug A by Company 1. (Doc. 1). The forensic imaging sought by Dr. Wang,

as detailed in Attachment A to the subpoena (Ex. A), is specifically directed at obtaining devices

containing electronically stored records, information and data sets pertinent to that research. This

includes Western blot images, system access and utilization logs, and densitometry readings that

are central to the United States’ allegations as described in the Indictment.            (Doc. 1).

Consequently, Dr. Wang’s subpoena request is specifically tailored to obtain records that are

crucial to his defense, rather than constituting an overbroad “fishing expedition.”

       Moreover, the requested forensic imaging is essential for identifying and retrieving hidden,

deleted, or missing files critical to Dr. Wang’s defense. The United States has pinpointed certain

records integral to their case that Dr. Wang has been unable to locate, which are believed to reside

on one of the requested storage devices. Additionally, Dr. Wang has indicated that certain files,

which were once available and are now missing, are similarly stored. This methodology is

therefore critical for uncovering evidence that may not be obtainable through standard document

collection procedures.

       Dr. Wang has already undertaken significant effort to access and image the systems and

information sought in this Motion without having to resort to Court intervention, but Dr. Wang’s

efforts have been rebuffed by University 1. As a result, the only way for Dr. Wang to obtain these

critical records is through this Court’s issuance of the requested and necessary Rule 17(c)

subpoena.

                                         CONCLUSION

       For these reasons, Dr. Wang respectfully asks this Court to grant his request for a Rule

17(c) subpoena to be issued to University 1 in the form reflected in Exhibit A and to issue an order




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directing service of the subpoena duces tecum returnable to undersigned counsel within thirty (30)

days of the subpoena’s issuance.2



Dated: August 27, 2024

                                                    Respectfully submitted,

                                                     /s/ Jennifer L. Beidel
                                                    Jennifer L. Beidel (Pro Hac Vice)
                                                    Mark Chutkow (Pro Hac Vice)
                                                    Joanne Zimolzak (19342)
                                                    Timothy Caprez (Pro Hac Vice)
                                                    Emma Blackwood (Pro Hac Vice)
                                                    Counsel for Hoau-Yan Wang

                                                    DYKEMA GOSSETT PLLC
                                                    39577 Woodward Avenue
                                                    Suite 300
                                                    Bloomfield Hills, MI 48304
                                                    Telephone: (248) 203-0700
                                                    Fax: (866) 219-1641




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 A subpoena duces tecum to University 1 is attached as Exhibit A. A Proposed Order is attached
as Exhibit B.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of August 2024, I filed the foregoing Motion and

Memorandum of Law in Support of Dr. Wang’s Request for the Issuance of a Subpoena to the

City University of New York with the Clerk of the Court for the U.S. District Court for the District

of Maryland, using the Court’s CM/ECF system. The CM/ECF system sent a “Notice of Electronic

Filing” to all counsel of record who have entered an appearance in this matter.



Dated: August 27, 2024                               Respectfully submitted,

                                                      /s/ Jennifer L. Beidel
                                                     Jennifer L. Beidel (Pro Hac Vice)
                                                     Mark Chutkow (Pro Hac Vice)
                                                     Joanne Zimolzak (19342)
                                                     Timothy Caprez (Pro Hac Vice)
                                                     Emma Blackwood (Pro Hac Vice)
                                                     Counsel for Hoau-Yan Wang

                                                     DYKEMA GOSSETT PLLC
                                                     39577 Woodward Avenue
                                                     Suite 300
                                                     Bloomfield Hills, MI 48304
                                                     Telephone: (248) 203-0700
                                                     Fax: (866) 219-1641




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